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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )                 Case No. 1:18-cv-02840
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )                 DECLARATION OF KIMBERLY
                                         )                 PRIOR IN SUPPORT OF MOTION
                           Defendants. )                   FOR ADMISSION PRO HAC VICE
                                         )


       I, Kimberly Prior, declare:

       1.           I make this Application under Local Rule 83.2(d) to appear in this case pro

hac vice on behalf of Plaintiff American Oversight. I have personal knowledge of the facts set

forth herein and, if called upon to testify about them, I could and would competently do so.

            2.      My full name is Kimberly Prior.

            3.      I am an associate with the law firm Goodwin Procter LLP, located at:

                    100 Northern Avenue

                    Boston, MA 02210

                    (617) 570-3907

            4.      I am an attorney in good standing and currently eligible and licensed to

practice in the state of Massachusetts.

            5.    I am not currently, and have never been, disciplined, suspended, or disbarred

by any court.

        6.          I have not been admitted pro hac vice before this Court at any time in the

past two years.
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       7.     I do not currently have an application for membership pending before the

District of Columbia Bar.

       I declare under penalty of perjury that the foregoing is true and correct.


Dated: December 11, 2018                            Respectfully submitted,

                                                    /s/ Kimberly Prior
                                                    Kimberly Prior
                                                    GOODWIN PROCTER LLP
                                                    100 Northern Avenue
                                                    Boston, MA 02210
                                                    (617) 570-3907
                                                    KPrior@goodwinlaw.com




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